           Case 8-18-77868-las          Doc 27      Filed 02/11/19       Entered 02/11/19 09:16:00




                                                                                        1775 Wehrle Drive, Suite 100
                                                                                        Williamsville, New York 14221
                                                                                        Phone (716)204-1700
                                                                                        Fax (716)204-1702
                                                                                        http://www.GrossPolowy.com/




                                                  February 8, 2019

Chambers, Hon. Louis A. Scarcella
United States Bankruptcy Court
Eastern District of New York
290 Federal Plaza
Central Islip, NY 11722

Re:             Rhonda M Ullrich
Case No.        18-77868-las
Loan No.        0

Dear Hon. Louis A. Scarcella,

        Please allow this letter to serve as a written status report, submitted on behalf of Specialized Loan
Servicing (the "Secured Creditor") pursuant to the Eastern District of New York Loss Mitigation Program
Procedures.

        The Firm was advised by the new servicer that we are no handling the file.

        If there are any questions, please feel free to contact me directly at 716-253-6200.

                                                          Very truly yours,

                                                          <<SIGGEN12>>||SIGTYPE0ENDSIGTYPE||

                                                          By:      /s/: Deborah Turofsky, Esq.

cc.     ECF and Email
        Cooper J Macco, Esq.
